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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS


CLEARWATER HOUSING                              )
                                                )       Case Nos. 13-6001 thru 13-6057;
AUTHORITY et al.                                )       6059 thru 6114; 6116 thru 6120; 6122
                                                )       thru 6149; 6151; 6152; 6154 thru 6167;
                                                )       6169 thru 6213; 6215 thru 6221; 6223
                Plaintiffs,                     )       thru 6243; 6246; 6248 thru 6262; 6264
                                                )       thru 6283; and 6285 thru 6357
                                                )
                                                )       (Judge Kaplan)
       v.                                       )
                                                )
                                                )
THE UNITED STATES,                              )
                                                )
                Defendant.                      )


            PLAINTIFFS’ CONSENT MOTION TO CORRECT CASE CAPTIONS

       Plaintiffs hereby request that the Court correct the case caption of the Final Order, ECF

No. 12, and Judgment, ECF No. 13, filed on June 13, 2017. In support of this motion, Plaintiffs

state as follows:

       1. On July 3, 2013, the Court entered an Order in Case No. 13-0006C, ECF No. 15,

             ordering the Clerk “to sever the claims of each of the 358 plaintiffs listed on the

             Amended Complaint after Public Housing Authorities Directors Association” and to

             “treat the claims of each of these plaintiffs as separate actions and [to] assign separate

             docket numbers to each case.” In addition, the Court ordered that “these newly-

             created cases [ ] be consolidated for all purposes with Public Housing Authorities

             Directors Association v. United States, 13-00006C.”




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           2. In accordance with the Court’s July 3, 2013 Order, the Clerk severed the 358 cases

                 from Case No. 13-00006C, assigned the docket numbers 13-06000C through 13-

                 06357C to the severed cases and consolidated the severed cases with Case No. 13-

                 0006C.

           3. On January 18, 2017, the Court filed an Opinion and Order, ECF No. 66, and

                 Judgment, ECF No. 67, on the docket of Case No. 13-0006C. In accordance with the

                 Opinion and Order and Judgment, Case Nos. 13-0006C, 13-6000C, 13-6058C, 13-

                 6115C, 13-6121C, 13-6150C, 13-6153C, 13-6168C, 13-6214C, 13-6222C, 13-6244C,

                 13-6245C, 13-6247C, 13-6263C and 13-6284C were dismissed and Case No. 13-

                 6040C was made the lead case in the consolidated action.

           4. On June 13, 2017, the Court filed a Final Order, ECF No. 12, and a Judgment in favor

                 of Plaintiffs, ECF No. 13, on the docket of Case No. 13-6040C, the lead case in the

                 consolidated action.

           5.    The case numbers specified in the caption for both the Final Order and Judgment are

                 Case Nos. 13-6040C through 13-6356C.

           6. Missing from the caption of both the Final Order and Judgment are Case Nos. 13-

                 6001C through 13-6039C and 13-6357C.

           7. Included in the caption of both the Final Order and Judgment are Case Nos. 13-

                 6058C, 13-6115C, 13-6121C, 13-6150C, 13-6153C, 13-6168C, 13-6214C, 13-6222C,

                 13-6244C, 13-6245C, 13-6247C, 13-6263C and 13-6284C. However, as specified

                 above, these cases were dismissed in accordance with the Judgment that was filed on

                 January 18, 2017. 1



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    It should be noted that the caption for both the Opinion and Order and Judgment omitted Case No. 13-6357C.

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       8. Eric Singley, Defendant’s counsel, has kindly consented to Plaintiffs’ motion.

       Based on the foregoing, Plaintiffs request that the Court revise the caption of the Final

Order, ECF No. 12, and Judgment, ECF No. 13, to include Case Nos. 13-6001C through 13-

6039C and 13-6357C. Plaintiffs also request that the Court revise the caption of the Final Order

and Judgment to delete Case Nos. 13-6058C, 13-6115C, 13-6121C, 13-6150C, 13-6153C, 13-

6168C, 13-6214C, 13-6222C, 13-6244C, 13-6245C, 13-6247C, 13-6263C and 13-6284C.



                                                     Respectfully submitted,




                                                     s/ Carl A. S. Coan, III
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